Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.695 Page 1 of 27

EXHIBIT A
Case 2:20-cv-11947-AJT-DRG ECF No. J2.1, filed 07/21/20 PagelD.696 Page 2 of 27

 

STATE OF MICHIGAN
DEPARTMENT OF EDUCATION
GRETCHEN WHITMER LANSING MICHAEL F. RICE, Ph.D.
GOVERNOR STATE SUPERINTENDENT
MEMORANDUM
DATE: June 12, 2020
TO: Local and Intermediate School District Superintendents

Public School Academy Directors

FROM: Sheila A. Alles, Chief Deputy Superintendent fol

SUBJECT: Summer Programming Guidance - MEMO #COVID-19-070

On Monday, June 1, 2020, Governor Whitmer signed Executive Order 2020-110 to lift
the stay at home order and to address temporary restrictions on certain events,
gatherings, and businesses. On Friday, June 5, 2020, Governor Whitmer signed
Executive Order 2020-115 that permits Regions 6 and 8 to move to Phase 5 of the
Michigan Safe Start Plan as of June 10, 2020. Region map is linked here. The
following Friday, June 12, Governor Whitmer signed Executive Order 2020-120 that
allows overnight camps to resume operations as of June 15, 2020 subject to
guidance from the Michigan Department of Licensing and Regulatory Affairs.

Additionally, E.O. 2020-120 lifts the suspension of school sports activities and other
in-person extracurricular activities, subject to rules on social distancing and given the
closure of indoor exercise facilities. These executive orders have a significant implicit
impact on summer programming for children.

Upon the expiration of a district’s 2019-2020 school year, summer programming may
occur within school buildings or in other settings outside of the school setting as long
as the program is in compliance with the parameters laid out in E.O. 2020-110 and
E.O. 2020-115. Specifically, Section 5 of E.O. 2020-115 states, “Any business or
operation that requires its employees to leave their home or place of residence for
work is subject to the rules on workplace safeguards in E.O. 2020-114 or any order
that may follow from it.”

In addition, Section 4 of E.O. 2020-110 and Section 6, of E.O. 2020-115 state, “Any
individual who leaves his or her home or place of residence must:

e Follow social distancing measures recommended by the Centers for Disease
Control and Prevention (“CDC”), including remaining at least six feet from

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Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.697 Page 3 of 27

Page 2
June 12, 2020

people from [sic] outside the individual's household to the extent feasible
under the circumstances.

e Wear a face covering over his or her nose and mouth—such as a homemade
mask, scarf, bandana, or handkerchief—when in any enclosed public space,
unless the individual is unable medically to tolerate a face covering.”

Summer learning opportunities and programming that include outdoor fitness
classes, athletic practices, training sessions, or games are permitted as described in
E.,O. 2020-110, Section 14(a) “provided that coaches, spectators, and participants
not from the same household maintain six feet of distance from one another at all
times during such activities, and that equipment and supplies are shared to the
minimum extent possible and are subject to frequent and thorough disinfection and
cleaning.”

In addition, “indoor gymnasiums, fitness centers, recreation centers, sports facilities,
exercise facilities, exercise studios, and the like” are closed per Section 12(b) of E.O.
2020-110 and cannot be used for summer programming. Additionally, E.O. 2020-
115, Section 7 provides rules on gatherings, performances, and events.

Finally, E.O. 2020-120, Section 2 strikes the second sentence of Executive Order
2020-65 Section I (1) and replaces it with: “Consistent with the rules described in
Executive Order 2020-110 (including any rules on social distancing and the closure of
indoor exercise facilities) and Executive Order 2020-115, which order applies to the
region in which the school is located, and any orders that follow from them, K-12
school sports activities and other in-person extracurricular school activities may
resume.”

Programs permitted by these executive orders with the aforementioned restrictions
include but are not limited to traditional summer school programming, work-based
learning programs for career and technical education students, and early childhood
programming. These programs are not viewed as social gatherings or events as listed
in E.O, 2020-110, Section 5 and E.O. 2020-115, Section 7 (a) (2). E.O. 2020-110,
Section 2 and E.O. 2020-115, Section 4 both state that “any work that is capable of
being performed remotely (i.e., without the worker leaving his or her home or place
of residence) must be performed remotely.” This restriction applies to the summer
programs included herein. As long as the program is in compliance with the
parameters in E.O. 2020-110, E.0O. 2020-115, and E.O 2020-120, local districts have
the discretion to determine the delivery model of summer programs: remote
instruction or in-person instruction within school buildings or in other settings outside
of school.

Separate guidance regarding summer phogreannnng for students with disabilities will

be provided soon.

cc: Michigan Education Alliance
Confederation of Michigan Tribal Education Directors
Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.698 Page 4 of 27

EXHIBIT B
Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.699 Page 5 of 27

Jenice Mitchell Ford

From: Nikolai Vitti

Sent: Monday, June 15, 2020 5:23 PM

To: Kristen Howard; lranetta Wright; Benjaman Jackson; Machion Jackson; Luis Solano;
Jeremy Vidito

Subject: Fw: [supers] FW: MDE COVID-19 Guidance

Sent from my BlackBerry 10 smartphone.

From: Randy Liepa <LiepaR@resa.net>

Sent: Monday, June 15, 2020 5:18 PM

To: Nikolai Vitti

Subject: Re: [supers] FW: MDE COVID-19 Guidance

 

 

 

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attachments, clicking links, or responding to this email.

 

I am taking the recent guidelines from the state as you can offer Face to face summer school. You will have to
follow their social distancing guidelines, which is 6 feet and I believe PPE equipment. If that is feasible for you,
you can do it. Randy

Sent from my iPhone

On Jun 15, 2020, at 4:29 PM, Nikolai Vitti <nikolai.vitti@detroitk12.org> wrote:

Hi Randy. What about face to face summer school? We have about 1500 families that have requested it.
NV

Sent from my BlackBerry 10 smartphone.

From: Randy Liepa
Sent: Monday, June 15, 2020 4:02 PM

To: supers@groups.resa.net
Subject: [supers] FW: MDE COVID-19 Guidance

 

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opening attachments, clicking links, or responding to this email.

 

 

 

 

You probably have seen this, update on procedures to provide summer programs. Randy

From: Michael Latvis <latvism@resa.net>

Sent: Monday, June 15, 2020 9:35 AM

To: Directors Team <Directors Team@resa.net>
Subject: Fwd: MDE COVID-19 Guidance
Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.700 Page 6 of 27

FYI regarding summer programs.

Mike Latvis

Executive Director of Legislative Affairs
Wayne RESA

33500 Van Born Rd.

Wayne, MI 48184

C: 248-379-5897

O: 734-334-1820

Begin forwarded message:

From: "Liethen, Caroline (MDE)" <LiethenC@michigan.gov>
Subject: MDE COVID-19 Guidance

Date: June 15, 2020 at 9:32:54 AM EDT

To: "Liethen, Caroline (MDE)" <LiethenC@michigan.gov>

 

 

 

MEMO #COVID-19-070
Summer Programming Guidance

Guidance related to Executive Order 2020-120 that allows overnight camps to resume operations
as of June 15, 2020 subject to guidance from the Michigan Department of Licensing and
Regulatory Affairs.

http:/Awww.michigan.gov/documents/mde/Summer Programming Guidance 693768 7.pdf

* To access all COVID-19 Updates, go to the MDE website at www.michigan.gov/mde.

Caroline Liethen

Legislative Liaison

Office of Public and Governmental Affairs
Michigan Department of Education
Office: 517-241-7017

Cell: 517-449-1974

You have the power to shape your future, and the future of all children,
by counting everyone in your home in the 2020 Census.

<image001.png>
Case 2:20-cv-11947-AJT-DRG ECF No. 12-1 filed 07/21/20 PagelD.701 Page 7 of 27

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EXHIBIT C
7/20/2020 Case 2:20-cv-11947-AJT-DRGVIR@F Axpqutigpomer MEQ I ALOVID U9) orgeq#3°V03 Page 9 of 27
THE OFFICE OF GOVERNOR GRETCHEN WHITMER
WHITMER / NEWS / EXECUTIVE ORDERS

Executive Order 2020-110 (COVID-19) (June 1, 2020)

EXECUTIVE ORDER
No. 2020-110
Temporary restrictions on certain events, gatherings, and businesses

Rescission of Executive Orders 2020-69 and 2020-96

The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness or
death. It is caused by a new strain of coronavirus not previously identified in humans and easily
spread from person to person. There is currently no approved vaccine or antiviral treatment for
this disease.

On March 10, 2020, the Department of Health and Human Services identified the first two
presumptive-positive cases of COVID-19 in Michigan. On that same day, | issued Executive Order
2020-4. This order declared a state of emergency across the state of Michigan under section 1

of article 5 of the Michigan Constitution of 1963, the Emergency Management Act, 1976 PA 390,
as amended (EMA), MCL 30.401 et seq., and the Emergency Powers of the Governor Act of 494s,
1945 PA’302, as amended (EPGA), MCL 10.31 et seq.

Since then, the virus spread across Michigan, bringing deaths in the thousands, confirmed cases
in the tens of thousands, and deep disruption to this state’s economy, homes, and educational,
civic, social, and religious institutions. On April 1, 2020, in response to the widespread and
severe health, economic, and social harms posed by the COVID-19 pandemic, | issued Executive
Order 2020-33. This order expanded on Executive Order 2020-4 and declared both a state of
emergency and a state of disaster across the State of Michigan under section 1 of article 5 of
the Michigan Constitution of 1963, the Emergency Management Act, and the Emergency Powgys
of the Governor Act of 1945. And on April 30, 2020, finding that COVID-19 had created

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emergency and disaster conditions across the State of Michigan, | issued Executive Order 2020-
67 to continue the emergency declaration under the Emergency Powers of the Governor Act, as
well as Executive Order 2020-68 to issue new emergency and disaster declarations under the
Emergency Management Act.

Those executive orders have been challenged in Michigan House of Representatives and
Michigan Senate v Whitmer. On May 21, 2020, the Court of Claims ruled that Executive Order
2020-67 is a valid exercise of authority under the Emergency Powers of the Governor Act but
that Executive Order 2020-68 is not a valid exercise of authority under the Emergency
Management Act. Both of those rulings are being challenged on appeal.

On May 22, 2020, | issued Executive Order 2020-99, again finding that the COVID-19 pandemic
constitutes a disaster and emergency throughout the State of Michigan. That order constituted
a state of emergency declaration under the Emergency Powers of the Governor Act of 1945.
And, to the extent the governor may declare a state of emergency and a state of disaster under
the Emergency Management Act when emergency and disaster conditions exist yet the
legislature has declined to grant an extension request, that order also constituted a state of
emergency and state of disaster declaration under that act.

The Emergency Powers of the Governor Act provides a sufficient legal basis for issuing this
executive order. In relevant part, it provides that, after declaring a state of emergency, “the
governor may promulgate reasonable orders, rules, and regulations as he or she considers
necessary to protect life and property or to bring the emergency situation within the affected
area under control.” MCL 10.31(1).

Nevertfeless, subject to the ongoing litigation and the possibility that current rulings may x
overturned or otherwise altered on appeal, ft aiso invoke the Emergency Management Act as a
basis for executive action to combat the spread of COVID-19 and mitigate the effects of this
emergency on the people of Michigan, with the intent to preserve the rights and protections
provided by the EMA. The EMA vests the governor with broad powers and duties to “cop[e] with
dangers to this state or the people of this state presented by a disaster or emergency,” which
the governor may implement through “executive orders, proclamations, and directives having
the force and effect of law.” MCL 30.403(1)-(2). This executive order falls within the scope of
those powers and duties, and to the extent the governor may declare a state of emergency and
a state of disaster under the Emergency Management Act when emergency and disaster
conditions exist yet the legislature has not granted an extension request, they too providea ~

sufficient legal basis for this order.
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To suppress the spread of COVID-19, to prevent the state’s health care system from being
overwhelmed, to allow time for the production of critical test kits, ventilators, and personal
protective equipment, to establish the public health infrastructure necessary to contain the
spread of infection, and to avoid needless deaths, it was reasonable and necessary to direct
residents to remain at home or in their place of residence to the maximum extent feasible. To
that end, on March 23, 2020, | issued Executive Order 2020-21, ordering all people in Michigan
to stay home and stay safe. In Executive Orders 2020-42, 2020-59, 2020-70, 2020-77, 2020-92,
and 2020-96, | extended that initial order, modifying its scope as needed and appropriate to
match the ever-changing circumstances presented by this pandemic.

The measures put in place by these executive orders have been effective: the number of new
confirmed cases each day continues to drop. Although the virus remains aggressive and
persistent—on May 31, 2020, Michigan reported 57,397 confirmed cases and 5,491 deaths—the
strain on our health care system has begun to relent, even as our testing capacity has
increased. We are now in the process of gradually resuming in-person work and activities. In so
doing, however, we must move with care, patience, and vigilance, recognizing the grave harm
that this virus continues to inflict on our state and how quickly our progress in suppressing it
can be undone.

With this order, | find it reasonable and necessary to move the state to Stage 4 of the Michigan
Safe Start Plan. As a result, Michiganders are no longer required to stay home. Instead, certain
businesses will remain closed and specific activities that present a heightened risk of infection
will remain prohibited. Any work that is capable of being performed remotely must be
performed remotely.

Under this order, retailers will be allowed to resume onerations on June 4. Restaurants and bars
may regpen fully on June 8. Swimming pools and day camps for kids will also be permitted
reopen on the same day. Those businesses and activities will be subject to safety guidance to
mitigate the risk of infection. Other businesses and activities that necessarily involve close
contact and shared surfaces, including gyms, hair salons, indoor theaters, tattoo parlors,

casinos, and similar establishments, will remain closed for the time being.

Michiganders must continue to wear face coverings when in enclosed public spaces and should
continue to take all reasonable precautions to protect themselves, their co-workers, their loved
ones, and their communities. Indoor social gatherings and events of more than 10 people are

prohibited. Outdoor social gatherings and events are permitted so long as people maintain si,

feet of distance from one another and the assemblage consists of no more than 100 people.
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Acting under the Michigan Constitution of 1963 and Michigan law, | order the following:
1. For purposes of this order, Michigan comprises eight separate regions.

a. Region 1 includes the following counties: Monroe, Washtenaw, Livingston, Genesee,
Lapeer, Saint Clair, Oakland, Macomb, and Wayne.

b. Region 2 includes the following counties: Mason, Lake, Osceola, Clare, Oceana, Newaygo,
Mecosta, Isabella, Muskegon, Montcalm, Ottawa, Kent, and lonia.

c. Region 3 includes the following counties: Allegan, Barry, Van Buren, Kalamazoo, Calhoun,
Berrien, Cass, Saint Joseph, and Branch,

d. Region 4 includes the following counties: Oscoda, Alcona, Ogemaw, losco, Gladwin,
Arenac, Midland, Bay, Saginaw, Tuscola, Sanilac, and Huron.

e. Region 5 includes the following counties: Gratiot, Clinton, Shiawassee, Eaton, and Ingham.

f, Region 6 includes the following counties: Manistee, Wexford, Missaukee, Roscommo
BEnzie, Grand Traverse, Kalkaska, Crawford, Leelanau, Antrim, Otsego, Montmorenc 96
Aipena, Charievoix, Cheboygan, Presque isie, and Emmet.

g. Region 7 includes the following counties: Hillsdale, Lenawee, and Jackson.

h. Region 8 includes the following counties: Gogebic, Ontonagon, Houghton, Keweenaw, Iron,
Baraga, Dickinson, Marquette, Menominee, Delta, Alger, Schoolcraft, Luce, Mackinac, and
Chippewa. a

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2. Any work that is capable of being performed remotely (i.e., without the worker leaving his
or her home or place of residence) must be performed remotely.

3. Any business or operation that requires its employees to leave their home or place of
residence for work is subject to the rules on workplace safeguards in Executive Order
2020-97 or any order that may follow from it.

4, Any individual who leaves his or her home or place of residence must:

a. Follow social distancing measures recommended by the Centers for Disease Control and
Prevention (“CDC”), including remaining at least six feet from people from outside the
individual’s household to the extent feasible under the circumstances.

b. Wear a face covering over his or her nose and mouth—such as a homemade mask, scarf,
bandana, or handkerchief—when in any enclosed public space, unless the individual is
unable medically to tolerate a face covering.

1. An individual may be required to temporarily remove a face covering upon entering an
enclosed public space for identification purposes. An individual may also remove a face
covering to eat or drink when seated at a restaurant or bar.

Q

2. Businesses and building owners, and those authorized to act on their behalf, are
permitted to deny entry or access to any individual who refuses to comply with the rule in
this subsection (b). Businesses and building owners will not be subject to a claim that they
have violated the covenant of quiet enjoyment, to a claim of frustration of purpose, or to
similar claims for denying entry or access to a person who refuses to comply with this
subsection (b).

3. Supplies of N95 masks and surgical masks should generally be reserved, for now, for
health care professionals, first responders (e.g., police officers, fire fighters, paramedicsyy

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and other critical workers who interact with the public.

4, The protections against discrimination in the Elliott-Larsen Civil Rights Act, 1976 PA 453, as
amended, MCL 37.2101 et seq., and any other protections against discrimination in
Michigan law, apply in full force to individuals who wear a face covering under this order.

5. Indoor social gatherings and events among persons not part of a single household are
permitted, but may not exceed 10 people.

6. Outdoor social gatherings and events among persons not part of a single household are
permitted, but only to the extent that:

a. The gathering or event does not exceed 100 people, and

b. People not part of the same household maintain six feet of distance from one another.

7. Unless otherwise prohibited by local regulation, outdoor parks and recreational facilities
may be open, provided that they make any reasonable modifications necessary to enable
employees and patrons not part of the same household to maintain six feet of distance
from one another, and provided that areas in which social distancing cannot be
maintained be closed, subject to guidance issued by the Department of Health and
Human Services.

Q | os

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: GHiDiteG BY local eguia ation, pudsic SWIMMINE pools, as defined by MCL
333, 12521 (dh), may open as of June 8, 2020, provided that they are outdoors and limit
capacity to 50% of the bather capacity limits described in Rule 325.2193 of the Michigan
Administrative Code, and subject to guidance issued by the Department of Health and
Human Services. Indoor public swimming pools must remain closed.

9, Day camps for children, as defined by Rule 400.11101(i) of the Michigan Administrative
Code, may open as of June 8, 2020, subject to guidance issued by the Department of |
Licensing and Regulatory Affairs. Residential, travel, and troop camps within the meaning

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of Rule 400.11101(n), (p), or (q) of the Michigan Administrative Code must remain closed
for the time being.

10. Unless otherwise prohibited by local regulation, libraries and museums may open as of
June 8, 2020, subject to the rules governing retail stores described in Executive Order
2020-97 or any order that may follow from it.

11. Stores that were closed under Executive Order 2020-96 (or that were open only by
appointment under the same order) must remain closed to the public (or open only by
appointment) until June 4 at 12:01 am. Such stores may then resume normal operations,
subject to local regulation and to the capacity constraints and workplace standards
described in Executive Order 2020-97 or any order that may follow from it.

12. Subject to the exceptions in section 14, the following places are closed to ingress, egress,
use, and occupancy by members of the public:

a. Indoor theaters, cinemas, and performance venues.

b. Indoor gymnasiums, fitness centers, recreation centers, sports facilities, exercise facilities,
exercise studios, and the like.

c. Facilities offering non-essential personal care services, including hair, nail, tanning,
massage, traditional spa, tattoo, body art, and piercing services, and similar personal care
services that involve close contact of persons. $2

d. Casinos licensed by the Michigan Gaming Control Board, racetracks licensed by the
Michigan Gaming Control Board, and Millionaire Parties licensed by the Michigan Gaming
Control Board.

e, Indoor services or facilities, or outdoor services or facilities involving close contact of
persons, for amusement or other recreational or entertainment purposes, such as
amusement parks, arcades, bingo halls, bowling alleys, indoor climbing facilities, indoora

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dance areas, skating rinks, trampoline parks, and other similar recreational or
entertainment facilities.

13. Unless otherwise prohibited by local regulation, restaurants, food courts, cafes,
coffeehouses, bars, taverns, brew pubs, breweries, microbreweries, distilleries, wineries,
tasting rooms, special licensees, clubs, and like places may be open to the public as
follows:

a. For delivery service, window service, walk-up service, drive-through service, or drive-up
service, and may permit up to five members of the public at one time for the purpose of
picking up their food or beverage orders, so long as those individuals are at least six feet
apart from one another while on premises.

b. In Regions 1, 2, 3, 4, 5, and 7, beginning at 12:01 am on June 8, 2020, for outdoor and
indoor seating, subject to the capacity constraints and workplace standards described in
Executive Order 2020-97 or any order that may follow from it.

c. In Regions 6 and 8, for outdoor and indoor seating, subject to the capacity constraints and
workplace standards described in Executive Order 2020-97 or any order that may follow
from it.

14. The restrictions imposed by sections 12 and 13 of this order do not apply to any of the
following:

a. SAkdoor fitness classes, athletic practices, training sessions, or games, provided that x
coaches, spectators, and participants not from the same household maintain six feet of
distance from one another at all times during such activities, and that equipment and
supplies are shared to the minimum extent possible and are subject to frequent and
thorough disinfection and cleaning.

b. Services necessary for medical treatment as determined by a licensed medical provider.
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c. Health care facilities, residential care facilities, congregate care facilities, and juvenile
justice facilities.

d. Crisis shelters or similar institutions.
e, Food courts inside the secured zones of airports.

f. Employees, contractors, vendors, or suppliers who enter, use, or occupy the places
described in section 12 of this order in their professional capacity.

15. Nothing in this order should be taken to interfere with or infringe on the powers of the
legislative and judicial branches to perform their constitutional duties or exercise their
authority. Similarly, nothing in this order shall be taken to abridge protections guaranteed
by the state or federal constitution under these emergency circumstances.

16, Consistent with prior guidance, neither a place of religious worship nor its owner is subject
to penalty under section 19 of this order for allowing religious worship at such place. No
individual is subject to penalty under section 19 of this order for engaging in religious
worship at a place of religious worship, or for violating the face covering requirement of
section 4(b) of this order.

17, Executive Orders 2020-69 and 2020-96 are rescinded. Except as specified, nothing in this
order supersedes any other executive order. This order takes effect immediately unless
otherwise specified.

Q x

18. In determining whether to maintain, intensify, or relax the restrictions in this order, | will
consider, among other things, (1) data on COVID-19 infections and the disease’s rate of
spread; (2) whether sufficient medical personnel, hospital beds, and ventilators exist to
meet anticipated medical need; (3) the availability of personal protective equipment for
the health care workforce; (4) the state’s capacity to test for COVID-19 cases and isolate
infected people; and (5) economic conditions in the state.

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19. Consistent with MCL 10.33 and MCL 30.405(3), a willful violation of this order is a

misdemeanor.

Given under my hand and the Great Seal of the State of Michigan.

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THE OFFICE OF GOVERNOR GRETCHEN WHITMER —

WHITMER / NEWS / EXECUTIVE ORDERS

Executive Order 2020-115 (COVID-19) (June 5, 2020)

EXECUTIVE ORDER
No. 2020-115
Temporary restrictions on certain events, gatherings, and businesses

The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness or
death, It is caused by a new strain of coronavirus not previously identified in humans and easily
spread from person to person. There is currently no approved vaccine or antiviral treatment for
this disease.

On March 10, 2020, the Department of Health and Human Services identified the first two
presumptive-positive cases of COVID-19 in Michigan. On that same day, | issued Executive Order
2020-4. This order declared a state of emergency across the state of Michigan under section 1
of article 5 of the Michigan Constitution of 1963, the Emergency Management Act, 1976 PA 390,
as amended (EMA), MCL 30.401 et seq., and the Emergency Powers of the Governor Act of 1945,
1945 PA 302, as amended (EPGA), MCL 10.31 et seq.

Since then, the virus spread across Michigan, bringing deaths in the thousands, confirmed cases
in the tens of thousands, and deep disruption to this state’s economy, homes, and educational,
civic, social, and religious institutions. On April 1, 2020, in response to the widespread and
severe health, economic, and social harms posed by the COVID-19 pandemic, | issued Executive
Order 2020-33. This order expanded on Executive Order 2020-4 and declared both a state of
emergency and a state of disaster across the State of Michigan under section 1 of article 5 of
the Michigan Constitution of 1963, the Emergency Management Act, and the Emergency Powers
of the Governor Act of 1945. And on April 30, 2020, finding that COVID-19 had created
emergency and disaster conditions across the State of Michigan, | issued Executive Order 20g0-
67 to continue the emergency declaration under the Emergency Powers of the Governor A€t?as
well as Executive Order 2020-68 to issue new emergency and disaster declarations under the
Emergency Management Act.

Those executive orders have been challenged in Michigan House of Representatives and
Michigan Senate v Whitmer. On May 21, 2020, the Court of Claims ruled that Executive Order
2020-67 is a valid exercise of authority under the Emergency Powers of the Governor Act but
that Executive Order 2020-68 is not a valid exercise of authority under the Emergency
Management Act. Both of those rulings are being challenged on appeal.

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Regions 6 and 8 have significantly fewer new cases per million each day than other regions in
the state and have not shown an increase in viral activity in response to earlier relaxations of
my orders. Taking into account the public health data and the ongoing costs of continued
restrictions, | find it reasonable and necessary to move Regions 6 and 8 to Stage 5 of the
Michigan Safe Start Plan as of June 10. Gyms, hair salons, indoor theaters, tattoo parlors, and
similar establishments will be permitted to reopen, subject to strict workplace safeguards.
Indoor social gatherings and organized events of up to 50 people will be allowed, as will
outdoor social gatherings and organized events of up to 250 people.

In addition, | find it reasonable and necessary to allow personal care services—including hair
and nail salons—to reopen statewide as of June 15. This constitutes a partial step along the path
of an orderly transition to Stage 5 for those parts of the state outside Regions 6 and 8.

Acting under the Michigan Constitution of 1963 and Michigan law, | order the following:

1. For purposes of this order, Michigan comprises eight separate regions.

a, Region 1 includes the following counties: Monroe, Washtenaw, Livingston, Genesee,
Lapeer, Saint Clair, Oakland, Macomb, and Wayne.

b. Region 2 includes the following counties: Mason, Lake, Osceola, Clare, Oceana,
Newaygo, Mecosta, Isabella, Muskegon, Montcalm, Ottawa, Kent, and lonia.

c. Region 3 includes the following counties: Allegan, Barry, Van Buren, Kalamazoo,
Calhoun, Berrien, Cass, Saint Joseph, and Branch.

d. Region 4 includes the following counties: Oscoda, Alcona, Ogemaw, losco, Gladwin,
Arenac, Midland, Bay, Saginaw, Tuscola, Sanilac, and Huron.

e, Region 5 includes the following counties: Gratiot, Clinton, Shiawassee, Eaton, and
Ingham.

f. Region 6 includes the following counties: Manistee, Wexford, Missaukee,
Roscommon, Benzie, Grand Traverse, Kalkaska, Crawford, Leelanau, Antrim, Otsego,
Montmorency, Alpena, Charlevoix, Cheboygan, Presque Isle, and Emmet.

g. Region 7 includes the following counties: Hillsdale, Lenawee, and Jackson.

Qh. Region 8 includes the following counties: Gogebic, Ontonagon, Houghton, 96
Keweenaw, Iron, Baraga, Dickinson, Marquette, Menominee, Delta, Alger, Schoolcraft,
Luce, Mackinac, and Chippewa.

2. As of 12:01 am on June 15, 2020, subsection 12(c) of Executive Order 2020-110, which
restricts the operation of facilities offering non-essential personal care services, is
rescinded. :

3. As of 12:01 am on June 10, 2020, individuals and businesses in Regions 6 and 8 are no
longer subject to Executive Order 2020-110 and are instead subject to the rules described
in this order.

4. Work that can be performed remotely (i.e., without the worker leaving his or her home or |
place of residence) should be performed remotely. |

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| 2. Limits the number of people in the venue to 25% of its maximum capacity or to
250, whichever is smaller. For purposes of this order, each separate auditorium
or screening room is a separate venue.

c. Notwithstanding the restrictions in subsection (a), a concert space, race track, sports
arena, stadium, or similar venue may, if it is outdoors, be open to spectators or
patrons, but only to the extent that it:

1. Enables persons not part of the same household to maintain six feet of
distance from one another at all times while in the venue.

2. Limits the number of people in the venue to 25% of its maximum capacity or to
500, whichever is smaller.

d. Subsection (a) does not apply to the incidental gathering of persons in a shared
space, including an airport, bus station, factory floor, restaurant, shopping mall,
public pool, or workplace.

8. Unless otherwise prohibited by local regulation, outdoor parks and recreational facilities
may be open, provided that they make any reasonable modifications necessary to enable
employees and patrons not part of the same household to maintain six feet of distance
from one another, and provided that areas in which social distancing cannot be
maintained be closed, subject to guidance issued by the Department of Health and
Human Services.

9, Unless otherwise prohibited by local regulation, public swimming pools, as defined by MCL
333.12521(d), may be open, subject to guidance issued by the Department of Health and
Human Services, provided that:

a. If they are outdoors, they limit capacity to 50% of the bather capacity limits described
in Rule 325.2193 of the Michigan Administrative Code.

b. If they are indoors, they limit capacity to 25% of the bather capacity limits described
in Rule 325.2193 of the Michigan Administrative Code.

10. Residential, travel, and troop camps within the meaning of Rule 400.11101(n), (p), or (q) of
the Michigan Administrative Code remain closed for the time being.

11, Nothing in this order should be taken to interfere with or infringe on the powers of the
| IGislative and judicial branches to perform their constitutional duties or exercise the®
“authority. Simiiariy, nothing in this order shali be taken to abridge protections guaranteed
by the state or federal constitution under these emergency circumstances.

12. Consistent with prior guidance, neither a place of religious worship nor its owner is subject
to penalty under section 15 of this order for allowing religious worship at such place. No
individual is subject to penalty under section 15 of this order for engaging in religious
worship at a place of religious worship, or for violating the face covering requirement of
section 6(b) of this order

13. Except as specified, nothing in this order supersedes any other executive order. This order

takes effect immediately unless otherwise specified. | a
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Executive Order 2020-114 (COVID-19) (June 5, 2020)
Executive Order 2020-116 (COVID-19) June 5, 2020)
Executive Order 2020-113 (COVID-19) (June 4, 2020)
Executive Order 2020-112 (COVID-19) (June 3, 2020)
Executive Order 2020-111 (COVID-19) (June 1, 2020)

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THE OFFICE OF

GOVERNOR GRETCHEN WHITMER

WHITMER / NEWS / EXECUTIVE ORDERS

Executive Order 2020-120 (COVID-19) (June 12, 2020)

EXECUTIVE ORDER

No. 2020-120

Returning overnight camps to operation

The novel coronavirus (COVID-19) is a respiratory disease that can result in serious illness or
death. It is caused by a new strain of coronavirus not previously identified in humans and easily
spread from person to person. There is currently no approved vaccine or antiviral treatment for
this disease.

On March 10, 2020, the Department of Health and Human Services identified the first two
presumptive-positive cases of COVID-19 in Michigan. On that same day, | issued Executive Order
2020-4. This order declared a state of emergency across the state of Michigan under section 1

of article 5 of the Michigan Constitution of 1963, the Emergency Management Act, 1976 PA 390,
as amended (EMA), MCL 30.401 et seq., and the Emergency Powers of the Governor Act of 1945,
1945 PA 302, as amended (EPGA), MCL 10.31 et seq.

Since then, the virus spread across Michigan, bringing deaths in the thousands, confirmed cases
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Order 2020-33. This order expanded on Executive Order 2020-4 and declared both a state of
emergency and a state of disaster across the State of Michigan under section 1 of article 5 of
the Michigan Constitution of 1963, the Emergency Management Act, and the Emergency Powers
of the Governor Act of 1945. And on April 30, 2020, finding that COVID-19 had created
emergency and disaster conditions across the State of Michigan, | issued Executive Order 2020-
67 to continue the emergency declaration under the Emergency Powers of the Governor Act, as
well as Executive Order 2020-68 to issue new emergency and disaster declarations under the
Emergency Management Act.

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Those executive orders have been challenged in Michigan House of Representatives and
Michigan Senate v Whitmer. On May 21, 2020, the Court of Claims ruled that Executive Order
2020-67 is a valid exercise of authority under the Emergency Powers of the Governor Act but
that Executive Order 2020-68 is not a valid exercise of authority under the Emergency
Management Act. Both of those rulings are being challenged on appeal.

On May 22, 2020, | issued Executive Order 2020-99, again finding that the COVID-19 pandemic
constitutes a disaster and emergency throughout the State of Michigan. That order constituted
a state of emergency declaration under the Emergency Powers of the Governor Act of 1945,
And, to the extent the governor may declare a state of emergency and a state of disaster under
the Emergency Management Act when emergency and disaster conditions exist yet the
legislature has declined to grant an extension request, that order also constituted a state of
emergency and state of disaster declaration under that act.

The Emergency Powers of the Governor Act provides a sufficient legal basis for issuing this
executive order. In relevant part, it provides that, after declaring a state of emergency, “the
governor may promulgate reasonable orders, rules, and regulations as he or she considers
necessary to protect life and property or to bring the emergency situation within the affected
area under control.” MCL 10.31(1).

Nevertheless, subject to the ongoing litigation and the possibility that current rulings may be
overturned or otherwise altered on appeal, | also invoke the Emergency Management Act as a
basis for executive action to combat the spread of COVID-19 and mitigate the effects of this
emergency on the people of Michigan, with the intent to preserve the rights and protections
provided by the EMA. The EMA vests the governor with broad powers and duties to “cop[e] with
dangers to this state or the people of this state presented by a disaster or emergency,” which
the governor may implement through “executive orders, proclamations, and directives having
the force and effect of law.” MCL 30.403(1)-(2). This executive order falls within the scope of
those powers and duties, and to the extent the governor may declare a state of emergency and
a state of disaster under the Emergency Management Act when emergency and disaster
conditions exist yet the legislature has not granted an extension request, they too provide a
sufficient legal basis for this order.

To suppress the spread of COVID-19, to prevent the state’s health care system from being x
overwhelmed, to allow time for the production of critical test kits, ventilators, and persona
protective equipment, to establish the public health infrastructure necessary to contain the
spread of infection, and to avoid needless deaths, it was reasonable and necessary to direct
residents to remain at home or in their place of residence to the maximum extent feasible. To
that end, on March 23, 2020, | issued Executive Order 2020-21, ordering all people in Michigan
to stay home and stay safe. In Executive Orders 2020-42, 2020-59, 2020-70, 2020-77, 2020-92,
2020-96, 2020-110, and 2020-115, | extended that initial order, modifying its scope as needed
and appropriate to match the ever-changing circumstances presented by this pandemic.

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The measures put in place by these executive orders have been effective: the number of new
confirmed cases each day continues to drop. Although the virus remains aggressive and
persistent—on June 11, 2020, Michigan reported 59,496 confirmed cases and 5,737 deaths—the
strain on our health care system has begun to relent, even as our testing capacity has
increased. We are now in the process of gradually resuming in-person work and activities. In so
doing, however, we must move with care, patience, and vigilance, recognizing the grave harm
that this virus continues to inflict on our state and how quickly our progress in suppressing it
can be undone.

After considering the public health data, | find it reasonable and necessary at this point to allow
overnight camps to resume operations as of June 15, 2020, subject to guidance from the
Department of Licensing and Regulatory Affairs. | likewise find it reasonable and necessary to
lift its suspension of school sports activities and other in-person extracurricular school activities,
subject to rules on social distancing and the closure of indoor exercise facilities.

Acting under the Michigan Constitution of 1963 and Michigan law, | order the following:

1. Notwithstanding any other executive order, residential, travel, and troop camps within the
meaning of Rule 400.11101(n), (p), or (q) of the Michigan Administrative Code may open as
of 12:01 am on June 15, 2020, subject to guidance issued by the Department of Licensing
and Regulatory Affairs.

2. Section I(1) of Executive Order 2020-65 is amended by striking the second sentence and
replacing it with: “Consistent with the rules described in Executive Order 2020-110
(including any rules on social distancing and the closure of indoor exercise facilities) and
Executive Order 2020-115, whichever order applies to the region in which the school is
located, and any orders that follow from them, K-12 school sports activities and other in-
person extracurricular school activities may resume.”

Given under my hand and the Great Seal of the State of Michigan.

GRETCHEN WHITMER
GOVERNOR

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Time: 12:18 pm

Date:

RELATED CONTENT

Executive Order 2020-152: Training of pharmacists

Executive Order 2020-144: Restoring Water Service to Occupied Residences during the
COVID-19 Pandemic

Executive Order 2020-145: Safeguards to Protect Michigan's Workers from COVID-19

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Executive Order 2020-146: Temporary COVID-19 protocols for entry into Michigan
Department of Corrections facilities and transfers to and from Department custody;
temporary recommended COVID-19 protocols ...

Executive Order 2020-147: Masks

Executive Order 2020-148: Enhanced protections for residents and staff of long-term care
facilities during the COVID-19 pandemic

Executive Order 2020-149: Temporary safety measures for food-selling establishments
and pharmacies and temporary relief from requirements applicable to the renewal of
licenses for the food-service ...

Executive Order 2020-150: Temporary and limited relief from certain licensing and
certification requirements applicable to COVID-19 response

Executive Order 2020-151: Declaration of state of emergency and state of disaster related
to the COVID-19 pandemic

Executive Order 2020-143: Closing indoor service at bars (July 1, 2020)
Executive Order 2020-139: Naming the "Elliott-Larsen Building"

Executive Order 2020-140: Temporary suspension of youth work permit application
requirements (June 30, 2020)

Executive Order 2020-141: Providing alternative notice of public hearings under
Michigan's tax abatement statutes (June 30, 2020)

Executive Order 2020-142: Provision of preK-12 education for the 2020-2021 school year
(June 30, 2020)

Executive Order 2020-137: Protecting the Food Supply and Migrant and Seasonal
Agricultural Workers from the effects of COVID-19

Executive Order 2020-138: Encouraging the use of telehealth services during the COVID-
19 emergency

Exec@&tive Order 2020-134: Eviction diversion program for COVID-19-related debtors x

Executive Order 2020-135: Creation of Michigan Nursing Homes COVID-19 Preparedness
Task Force

Executive Order 2020-136: Temporary restrictions on entry into health care facilities,
residential care facilities, congregate care facilities, and juvenile justice facilities

Executive Order 2020-132: Enhanced authorization of remote means for carrying out
state administrative procedures

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